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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                          CASE NUMBER


                                                                                   CR 00-1220 SVW

                                                   Plaintiff(s),
                              v.

                                                                           NOTICE OF FILING OF
OZINE BRIDGEFORTH,                                                 ✔ OFFICIAL G REDACTED TRANSCRIPT
                                                                   G

                                                 Defendant(s).


 TO ALL COUNSEL OF RECORD:

 ✔
 G         Notice is hereby given that an official transcript of a proceeding, document number(s)
           362                                                                                                             ,
           has been filed by the court reporter/electronic court recorder in the above-captioned matter. The parties
           have seven (7) business days from the filing of the official transcript to file with the court a Notice of Intent
           to Request Redaction of this transcript and/or 21 calendar days from the filing of the official transcript to
           file with the court a Redaction Request. If no such Notice or Redaction Request is filed, the transcript will
           be made electronically available to the public without redaction after 90 calendar days. Any party needing
           a copy of the transcript to review for redaction purposes may purchase a copy from the court
           reporter/electronic court recorder or view the document at the clerk’s office public terminal.

 G         Notice is hereby given that a redacted transcript of a proceeding, document number(s)
                                                                                                                          ,
           has been filed by the court reporter/electronic court recorder in the above-captioned matter.


                                                              CLERK U.S. DISTRICT COURT


 Date: July 8, 2009                                           PAT CUNEO
                                                              Court Reporter/Deputy Clerk




 G-46 (5/08)                              NOTICE OF FILING OF OFFICIAL TRANSCRIPT
